United States v. White
  3:21-cr-155-DJH
   EXHIBIT “H”
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  AT CHARLESTON

        ______________________________
                                      x
        UNITED STATES OF AMERICA,     : Criminal Action
                                      :
                        Plaintiff,    : No. 2:21-cr-00127
                                      :
        v.                            :
                                      :
        RAYMOND DUGAN,                :*** REDACTED ***
                                      :
                         Defendant.   : APPEAL TRANSCRIPT
        ______________________________x


                                    VOLUME I
                            TRANSCRIPT OF JURY TRIAL
                     BEFORE THE HONORABLE JOSEPH R. GOODWIN
                       UNITED STATES DISTRICT COURT JUDGE
                          IN CHARLESTON, WEST VIRGINIA
                                 AUGUST 2, 2022


        APPEARANCES:

        For the Government:             Julie White, Esq.
                                        Nowles Heinrich, Esq.
                                        Assistant United States Attorney
                                        United States Attorney's Office
                                        P.O. Box 1713
                                        Charleston, WV 25326-1713

        For the Defendant:              David Schles, Esq.
                                        David O. Schles
                                        Suite 306
                                        815 Quarrier Street
                                        Charleston, WV 25301

        Probation Officer:          Kiara Carper
                    ___________________________________
                       Kimberly Kaufman, RMR, CRR, CRC
                       Federal Official Court Reporter
                     300 Virginia Street East, Room 6610
                             Charleston, WV 25301

        Proceedings recorded by mechanical stenography; transcript
        produced by computer.

                Kimberly Kaufman, RMR, CRR, CRC (304) 347-3188
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                      Special Agent Michael Fleener - Cross (Schles)



 1      Q.    And can you tell me how you came to suspect somebody at

 2      the Dugan residence of having accessed child pornography?

 3      A.    Yes, sir, I can.      Our agent -- our office up in Boston,

 4      Massachusetts, with the --

 5      Q.    When you say your office, would you --

 6      A.    Correct.    The HSI office -- the Special Agent in Charge

 7      office of HSI in Boston, Massachusetts, was working jointly

 8      with and assisting a foreign law enforcement agency

 9      conducting an ongoing investigation.

10      Q.    So somebody who works -- you don't know who worked

11      for -- but at the time you were in the same agency obviously

12      in different divisions in different cities.

13            Somebody contacted you and told you that a foreign

14      agent from some other government had informed them that on

15      May 25th of 2019 a computer identified by an IP address

16      eventually traced to Mr. Dugan's residence had accessed a

17      certain website?

18                  MS. WHITE:    Objection, Your Honor.

19                  THE COURT:    Overruled.

20      A.    There was a lot more to it than that, but, yes, our

21      office in Boston, Massachusetts, forwarded me a package of

22      information that came both from DOJ's Child Exploitation and

23      Obscenities Section, as well as information from the foreign

24      law enforcement office, summarizing the ongoing

25      investigation and then providing me with the pertinent


                Kimberly Kaufman, RMR, CRR, CRC (304) 347-3188
